                            G
            CASE 0:24-md-03108-DWF-DJF            Doc. 144     Filed 12/27/24     Page 1 of 1

MINNESOTA OFFICE                                                                      CALIFORNIA OFFICE
CANADIAN PACIFIC PLAZA
120 S. 6TH ST., STE 2600
                                           USTAFSON                                    600 W. BROADWAY
                                                                                              SUITE 3300
MINNEAPOLIS, MN 55402
                                           LUEK PLLC                                 SAN DIEGO, CA 92101



                                       DANIEL E. GUSTAFSON
                                   dgustafson@gustafsongluek.com
                               TEL (612) 333-8844 • FAX (612) 339-6622
                                          MINNESOTA OFFICE

                                          December 27, 2024

      VIA ECF & E-MAIL
      The Honorable Dulce J. Foster
      United States District Court
      300 South Fourth Street
      Minneapolis, MN 55415
      Foster_Chambers@mnd.uscourts.gov

             Re:    In re: Change Healthcare, Inc. Customer Data Sec. Breach Litig.,
                    0:24-md-03108-DWF-DJF

      Dear Judge Foster:

             I write in response to the Court’s request that the Parties notify the Court of their
      positions on whether the Court or its clerk’s receipt of a Data Breach Notification from
      the Defendants in this action warranted recusal.

              Plaintiffs, like Defendants, do not view the Court’s receipt of this breach notice as
      grounds for recusal and are certain of the Court’s ability to remain fair and impartial in
      this action.

             Please contact me with any questions.

                                                     Sincerely,
                                                     GUSTAFSON GLUEK PLLC




                                              Daniel E. Gustafson
      DEG/sam
      cc:  Counsel for Defendants (via ECF & E-Mail)
